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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

         IN RE:                                       §       CHAPTER 11
                                                      §
         KRISJENN RANCH, LLC                          §       CASE NO. 20-50805-rbk
                                                      §
                                                      §
                                DEBTOR                §              (Jointly Administered)


               MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT
                    PURSUANT TO BANKRUPTCY RULE 9019(A)

       THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
  YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
  PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
  AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY.
  YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN TWENTY-ONE (21) DAYS OF
  THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
  MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE,
  THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
  OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
  ATTEND THE HEARING, UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
  MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION AT
  THE HEARING.    REPRESENTED PARTIES SHOULD ACT THROUGH THEIR
  ATTORNEY.

  TO THE HONORABLE JUDGE KING UNITED STATES BANKRUPTCY JUDGE FOR THE
  WESTERN DISTRICT OF TEXAS:

         KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series Uvalde Ranch, and KrisJenn Ranch

  LLC, Series Pipeline Row (the “Debtors”) file this Motion for Approval of Settlement Agreement

  under Rule 9019(a) of the Federal Rules of Bankruptcy Procedure (“Motion”) and seeks the

  Court’s approval of the settlement and resolution of disputes between Debtors and their principal

  Larry Wright on one hand (collectively the “KrisJenn Parties”), and McLeod Oil, LLC (“McLeod

  Oil”), John W. McLeod, Jr., and Adam W. McLeod (collectively, the “McLeods”), on the other.

  Collectively, the McLeods and the KrisJenn Parties are referred to as the “Parties.” In support of



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  the Motion, the Debtors would show the Court as follows:

                                  I.
  JURISDICTION, AND VENUE, AND CONSTITUTIONAL AUTHORITY TO ENTER A
                             FINAL ORDER

         1.      The Court has jurisdiction over these matters pursuant to 28 U.S.C. §§ 157 and

  1334. These matters concern the administration of the bankruptcy estate; accordingly, these are

  core proceedings pursuant to 28 U.S.C. § 157(b)(2)(I) and (J). Venue is proper in this district

  pursuant to 28 U.S.C. §§ 1408 and 1409. The predicate for the relief requested herein is Rule

  9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

         2.      The Debtors are requesting this Court approve a settlement under an express

  bankruptcy provision, i.e. Bankruptcy Rule 9019. This Rule gives bankruptcy courts discretion to

  approve a compromise. State law has no equivalent to Bankruptcy Rule 9019. Moreover, the

  factors which bankruptcy courts are required to review in making a determination of whether or

  not to approve a settlement have been developed entirely by the federal courts, including the

  Supreme Court of the United States. See United States v. Key, 397 U.S. 322 (1970); Rivercity v.

  Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir.1980). Accordingly, because the

  resolution of the Motion is not based on state common law, but entirely on federal bankruptcy law

  (both the Rule and the case law instructing how to apply the Rule), the holding in Stern is

  inapplicable, and this Court has the constitutional authority to enter a final order under 28 U.S.C.

  §§ 157(a) and (b)(1).

                                             II.
                                    FACTUAL BACKGROUND

         3.      As more further stated in the Parties’ settlement agreement attached as Exhibit “A,”

  (the “Settlement Agreement”) and in the Parties pleadings [Dckts 163 and 212], McLeod Oil

  provided financing relating to that certain right-of-way and pipeline (the “ROW”) that spans


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  approximately 65 miles and runs through Angelina County, Nacogdoches County, Rusk County,

  and Shelby County in east Texas. The Debtors have never contested receiving the financing, the

  purpose of the financing, or the validity of McLeod Oil’s liens.                  The Parties disputed the

  propriety of default interest and amounts of attorney fees as discussed in detail in the Settlement

  Agreement and pleadings.         McLeod Oil contends the default interest was triggered prior to or

  during the bankruptcy filing through a failure to timely make payments on the debt, and the

  KrisJenn Parties contend there either never was a default because the documents moved all

  payments to November 2021, or default payments were never properly declared. Regardless,

  whether default interest was proper, KrisJenn Parties acknowledge some attorney fees would be

  awarded to the Mcleods as a fully secured party pursuant to 11 §USC 506.1

          4.       While each party contends their position is correct, the Parties each also

  acknowledge there is a legitimate risk the Court could find for the opposing party. Moreover, there

  is no clear way to “split the baby,” at least in regard to the default interest, which accounts for up

  to $650,000 of McLeod Oil’s claim.           Hence, the KrisJenn Parties could be facing $650,000 in

  default interest along with $200,000 to $250,000 in attorney fees. If the Court were to award all

  the requested damages to McLeod Oil, there likely would be no funds remaining for administrative

  expenses or to pay the estates’ unsecured creditors; therefore, requiring a drawn out plan execution

  process for the claims to be paid.

          5.       In simple terms, but as more fully discussed in the Settlement Agreement, the

  general terms of the settlement are as follows:

                   (a)     The Debtors are paying McLeod Oil $385,000 in cash from the funds in the
                           Debtor in Possession Account;


  1
    The Parties’ arguments have been thoroughly outlined in their pleadings in Docket Numbers 163 (Amended Joint
  Debtors’ Objection to Claims) and 175 (Mcleods’ Response), which are incorporated for the purpose of providing
  context of the Parties’ arguments.

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                   (b)      Larry Wright is transferring 165 net mineral acres of the Wright Mineral
                            Interest (as more particularly detailed in the Settlement Agreement) to
                            McLeod Oil in lieu of Debtors paying McLeod Oil an additional $165,000.2

                   (c)      McLeod Oil is releasing all encumbered property owned by the estate and
                            Larry Wright; and

                   (d)      The Settlement Agreement includes mutual releases for all Parties.

          Per the terms of Debtors’ Plan of Reorganization, upon confirmation, Larry Wright shall

  be reimbursed $165,000 from the Estate. The Settlement is not contingent upon confirmation of

  the Plan.


                                                    III.
                                            RELIEF REQUESTED

          6.       The Debtors seek the Court’s approval of the Settlement Agreement negotiated by

  respective counsels for the Parties.

          7.       Subject to the Court’s approval, the Parties agreed to the terms set forth in the

  Settlement Agreement. The material terms of the Settlement Agreement include the following:

                   (a)      The Debtors shall pay the Mcleods $385,000 in cash from the funds in the
                            Debtor in Possession account;

                   (b)      Larry Wright shall transfer 165 net mineral acres of the Wright Mineral
                            Interests to McLeod Oil;3

                   (c)      McLeod Oil is releasing all encumbered property owned by the estate and
                            Larry Wright; and

                   (d)      The Parties shall execute mutual releases.




  2
    Larry Wright’s payment of the mineral interests subject to reimbursement insures the estate will have sufficient
  funds to pay all allowed claims and administrative expenses on the Effective Date of the proposed plan. See
  generally Debtors’ Fourth Amended Joint Disclosure Statement [Dckt 212].
  3
    Larry Wright shall be reimbursed $165,000 from the estate upon confirmation of Debtors’ plan of reorganization
  pending before the Court as detailed in the live Plan and Disclosure Statement.

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                                      IV.
              LEGAL AUTHORITIES IN SUPPORT OF THE RELIEF SOUGHT

         8.      A bankruptcy court may approve a motion for compromise or settlement after

  notice and a hearing pursuant to Rule 9019. FED. R. BANKR. P. 9019(a). In determining whether

  to approve a settlement made in accordance with Federal Rule of Bankruptcy Procedure 9019, the

  Fifth Circuit requires the reviewing bankruptcy court to assess whether the settlement is “fair,

  equitable, and in the best interest of the estate.” In re Age Ref., Inc., 801 F.3d 530, 540 (5th Cir.

  2015); In re Jackson Brewing Co., 624 F.2d 599, 602 (5th Cir. 1980); In re Roqumore, 393 B.R.

  474, 479–80 (Bankr. S.D. Tex. 2008); see also Official Comm. of Unsecured Creditors v. Cajun

  Elec. Power. Coop., Inc. (In re Cajun Elec. Power Coop.), 119 F.3d 349, 356 (5th Cir. 1997).

         9.      To judge whether a settlement is fair and equitable, bankruptcy courts in the Fifth

  Circuit apply the three-part test set out in Jackson Brewing with a focus on comparing “the terms

  of the compromise with the likely rewards of litigation.” In re Age Ref., Inc., 801 F.3d at 540

  (citing In re Jackson Brewing Co., 624 F.2d at 602). In doing so, the bankruptcy court must

  evaluate: (1) the probability of success in litigating the claim subject to settlement, with due

  consideration for the uncertainty in fact and law; (2) the complexity and likely duration of litigation

  and any attendant expense, inconvenience, and delay; and (3) all other factors bearing on the

  wisdom of the compromise. In re Age Ref., Inc., 801 F.3d at 540. The Fifth Circuit has determined

  that the “other” factors include: (i) “the best interests of the creditors, ‘with proper deference to

  their reasonable views’”; and (ii) “‘the extent to which the settlement is truly the product of arms-

  length bargaining, and not of fraud or collusion.’” In re Age Ref., Inc., 801 F.3d at 540 (citing In

  re Cajun Elec. Power Coop., Inc., 119 F.3d 349, 356 (5th Cir.1997) (quoting In re Foster Mortg.,

  68 F.3d 914, 917 (5th Cir.1995)).




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         10.     The Court has the discretionary authority to approve a settlement under Bankruptcy

  Rule 9019(a). See Protective Comm. of Stockholder of TMT Trailer Ferry, Inc. v. Anderson (In

  re TMT Trailer Ferry, Inc.), 390 U.S. 414, 424 (1968), on remand, TMT Trailer Ferry, Inc. v.

  Kirkland, 471 F.2d 10 (5th Cir. 1972). The decision to approve a compromise “lies within the

  discretion of the trial judge.” In re AWECO, Inc., 725 F.2d 293, 297 (5th Cir. 1984). The Court

  need not “conduct a mini-trial to determine the probable outcome of any claims waived in the

  settlement.” In re Age Refining, Inc., 801 F.3d at 541; Cajun Elec., 119 F.3d at 355.

         11.     The Debtor presents the following arguments in further support of the approval of

  the attached, written Settlement Agreement based on each of the factors that the Court must

  consider in the Fifth Circuit.

                 a.      THE LIKELY PROBABILITY OF SUCCESS GIVEN UNCERTAINTIES IN
                         LITIGATION.

         12.     The first factor in analyzing whether a compromise is fair, equitable, and in the best

  interests of the estate requires that this Court first look to at the “probability of success in the

  litigation, with due consideration for the uncertainty in fact and law.” In re Cajun Elec., 119 F.3d

  at 356. A mini-trial on the state court issues is not required under Fifth Circuit law to approve the

  settlement. In re Age Refining, Inc., 801 F.3d at 541.

         13.     Debtors have never contested the validity of the McLeod Oil debt or its underlying

  documents. Debtors have contested whether a default occurred and, even if a default had occurred,

  whether default interest was triggered. Due to the complexity of the transactions between the

  Parties, Debtors and McLeod agree that victory is uncertain for each side of the litigation. Given

  that uncertainty and the reality that defeat would cause substantial hardship to either side, settling

  in a compromise weighs heavily in favor of approving the Settlement Agreement.

  B.     COMPLEXITY AND LIKELY DURATION OF LITIGATION AND ANY ATTENDANT EXPENSE ,
         INCONVENIENCE, AND DELAY FAVOR AN EARLY SETTLEMENT.

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         14.     The Court must also weigh the potential “complexity and likely duration of the

  litigation and any attendant expense [and] inconvenience.” Cajun Elec., 119 F.3d at 356. While

  trial on the merits was imminent, the cost of finishing the trial likely would have cost both sides

  upwards of $50,000 each.        Additionally, the losing party likely would have appealed any

  judgment causing further delay in prosecuting Debtors’ plan of reorganization; therefore, delaying

  payment to creditors and adding more estate expense. Further, if Debtors ultimately lost the

  ligation, all of McLeod Oil’s litigation expense would have been borne by the Debtors’ estate.

  The cost of proceeding with these claims coupled with the risk substantially outweighs the

  likelihood and benefits of success.

  C.     THE PROPOSED SETTLEMENT IS IN THE BEST INTERESTS OF THE CREDITORS , AND THE
         PRODUCT OF ARMS-LENGTH NEGOTIATIONS.

         15.     The third factor for this Court is to evaluate is the “wisdom of the compromise,”

  which is broken into two more specific factors—that is, “[w]hether the compromise serves the

  paramount interest of creditors with proper deference to their reasonable reviews” and “[t]he extent

  to which the settlement is truly the product of arms-length bargaining and not of fraud or

  collusion.” In re Roqumore, 393 B.R. at 480.

         16.     Here, the Settlement Agreement would serve the paramount interest of the creditors

  in the Chapter 11 case. If the Settlement is approved, then there will be sufficient funds to pay all

  of the allowed non insider claims.     If the case were tried and Debtors were to lose, then there

  would not be sufficient funds on hand to pay the unsecured creditors or the administrative claims.

         17.     In further support of the third factor that the Court must consider, all parties to the

  Settlement Agreement were represented by counsel. The parties, via counsel, engaged in many

  calls and e-mail communications to exchange information regarding the merits of the claims,

  resulting in the negotiated Settlement. In taking these actions, the Parties ensured that all interests


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  were adequately met in a valid, arms-length bargain ultimately reflected by the Settlement

  Agreement.

                                                V.
                                             GENERAL

         18.     In support of this Motion, the following documents are attached hereto and

  incorporated by reference herein: (1) the Settlement Agreement between the Parties attached as

  Exhibit “A”; and (2) a proposed Order approving the compromise.

         WHEREFORE, based on the foregoing, the Debtors request that the Court enter an order,

  substantially in the form attached:

                 (a)     Approve the Motion and allow the parties to compromise and settle the
                         contested claim objection on the terms presented in this Motion pursuant to
                         Bankruptcy Rule 9019, and

                 (b)     Granting such other and further relief as the Court may deem just and
                         appropriate.



                                        Submitted By:
                                        SMEBERG LAW FIRM, PLLC
                                        By:       /s/ Ronald J. Smeberg
                                        RONALD J. SMEBERG
                                        State Bar No. 24033967
                                        4 Imperial Oaks
                                        San Antonio, Texas 78248
                                        210-695-6684 (Tel)
                                        210-598-7357 (Fax)
                                        ron@smeberg.com
                                        ATTORNEY FOR DEBTOR




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on February 10, 2022, true and correct copies of the foregoing motion
  will be forwarded electronically via the Court’s ECF System, or by U.S. first class mail, postage
  prepaid, on, all parties listed on the attached Service List.

                                        /s/ Ronald J. Smeberg
                                        RONALD J. SMEBERG



                                         SERVICE LIST
  DEBTOR                             Assessor
  KrissJenn Ranch, LLC               606 E Lufkin Ave,                   Albert, Neely & Kuhlmann
  410 Spyglass Rd                    Lufkin, Texas 75901                 1600 Oil & Gas Building
  Mc Queeney, TX 78123-                                                  309 W 7th St
  3418                               Nacogdoches County Tax              Fort Worth, TX 76102-
                                     Assessor Collector                  6900
  GOVERNMENT                         101 West Main Street
  ENTITIES                           Nacogdoches, Texas                  Laura L. Worsham
                                     75961                               JONES, ALLEN &
  Office of the UST                                                      FUQUAY, LLP
  615 E Houston, Room 533            Rusk County                         8828 Greenville Ave.
  PO Box 1539                        202 N Main St,                      Dallas, Texas 75243
  San Antonio, TX 78295-             Henderson, Texas 75652
  1539                                                                   Craig Crockett
                                     Shelby County, Tax                  CRAIG M. CROCKETT, PC
  U.S. Attorney                      Collector                           5201 Camp Bowie Blvd.
  Attn: Bkcy Division                200 St. Augustine St.               #200
  601 NW Loop 410, Suite             Center, Texas 75935                 Fort Worth, Texas 76107
  600
  San Antonio, Texas 78216           Tenaha ISD Tax Assessor-            Christopher S. Johns
                                     Collector                           JOHNS &COUNSEL
  Internal Revenue Services          138 College St                      PLLC
  Special Procedures Branch          Tenaha, TX 75974-5612               14101 Highway 290 West,
  300 E. 8th St. STOP 5026                                               ste 400A
  AUS                                Uvalde Tax Assessor                 Austin, Texas 78737
  Austin, TX 78701                   Courthouse Plaza, Box 8
                                     Uvalde, Texas 78801                 Timothy Cleveland
  Texas Comptroller of                                                   CLEVELAND|TERRAZA
  Public Account                     NOTICE PARTIES                      S PLLC
  Attn: Bankruptcy                                                       4611 Bee Cave Road, ste
  P.O. Box 149359                    METTAUER LAW FIRM                   306B
  Austin, TX 78714-9359              c/o April Prince                    Austin, Texas 78746
                                     403 Nacogdoches St Ste 1
  Angelina County Tax                Center, TX 75935-3810               SECURED


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 CREIDITORS                                              Medina's Pest Control
                             Granstaff Gaedke &          1490 S Homestead Rd
 McLeod Oil, LLC             Edgmon                      Uvalde, TX 78801-7625
 c/o John W. McLeod, Jr.     5535 Fredericksburg Rd
 700 N Wildwood Dr           Ste 110                     Texas Farm Store
 Irving, TX 75061-8832       San Antonio, TX 78229-      236 E Nopal St
                             3553                        Uvalde, TX 78801-5317
 UNSECURED
 CREIDITORS                  Hopper's Soft Water         Uvalco Supply
                             Service                     2521 E Main St
 Bigfoot Energy Services     120 W Frio St               Uvalde, TX 78801-4940
 312 W Sabine St             Uvalde, TX 78801-3602
 Carthage, TX 75633-2519                                 Longbranch Energy
                             Larry Wright                c/o DUKE BANISTER
 C&W Fuels, Inc.             410 Spyglass Rd             RICHMOND
 Po Box 40                   Mc Queeney, TX 78123-       Po Box 175
 Hondo, TX 78861-0040        3418                        Fulshear, TX 77441-0175

 Davis, Cedillo & Mendoza    Medina Electric             DMA Properties, Inc.
 755 E Mulberry Ave Ste      2308 18th St.               896 Walnut Street at US
 500                         Po Box 370                  123 BYP
 San Antonio, TX 78212-      Hondo, TX 78861-0370        Seneca, SC 29678
 3135




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